           Case 8:19-bk-06681-CPM           Doc 17      Filed 09/19/19    Page 1 of 14



                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


In re:                                                       Case No.: 8:19-bk-06681-CPM
                                                             Chapter 7
Gladys Llano
               DEBTOR                         /

           CHAPTER 7 TRUSTEE’S APPLICATION TO RETAIN
   BK GLOBAL REAL ESTATE SERVICES AND FUTURE HOME REALTY TO
PROCURE CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §§327, 328 AND 330

               Larry Hyman, as Chapter 7 Trustee (the “Trustee”) for the above referenced debtor,

by and through the undersigned counsel, files this Application for entry of an order authorizing

retention of (1) BK Global Real Estate Services (“BKRES”) under the terms set forth in the

agreement (the “BKRES Agreement”) attached to BKRES’ Affidavit of Disinterestedness (the

“BKRES Affidavit”) and (2) Darla Wright of Future Home Realty (“Listing Agent”) under the

terms of the agreement (the “Listing Agreement”) attached to Listing Agent’s Affidavit of

Disinterestedness at (the “Listing Agent Affidavit”). In support thereof, the Trustee respectfully

states as follows:

                                    PRELIMINARY STATEMENT

               Trustee requests approval to retain BKRES and Listing Agent, at no cost to the

estate, to negotiate with and persuade the first lienholder on certain real property in which the

estate has no equity to (1) allow Trustee to sell such property at the highest price that the market

will bear, (2) waive the resulting deficiency claim and (3) pay a 11 U.S.C. § 506 surcharge to

provide a carveout for the benefit of the estate and pay all other sale expenses, including a 6%

brokerage commission that will be shared equally by BKRES and Listing Agent only upon the

closing of a sale that is approved by this Court.




                                                    1
           Case 8:19-bk-06681-CPM           Doc 17    Filed 09/19/19      Page 2 of 14



               BKRES and its affiliates have proprietary technology and a national team of

experienced loan servicing specialists, asset managers, negotiators, trustee relation managers, real

estate brokers and agents, closing specialists and attorneys with extensive experience in procuring

the consent of mortgage lenders and servicers to sell over-encumbered properties and provide

significant cash recoveries to selling estates with no equity, through the Consented Sale™ process

described herein.

               The proposed agreements are attached and provide that BKRES and Listing Agent

will not be entitled to any compensation from the estate whatsoever under any circumstances. They

will only receive and share a customary brokerage commission that is paid by secured creditor as

a 11 U.S.C. § 506 surcharge approved by this Court.

               The Trustee (1) believes that hiring BKRES and Listing Agent to pursue a

Consented Sale™ will likely result in secured creditor paying a carveout for the benefit of the

estate with proceeds from the public sale of an asset in which the estate has no equity and

(2) expects to obtain secured creditor’s agreement to a Consented Sale™, and bring a separate

motion seeking this Court’s approval of the procedures, terms and conditions by which the over-

encumbered property will be sold, within the coming months.

                                          JURISDICTION

       This Court has jurisdiction to consider this Application pursuant to 28 U.S.C. §§ 157 and

1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A), (M), (N),

and (O).

       Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.

                                          BACKGROUND

       On July 17, 2019, the Debtor commenced this case by filing a voluntary petition for relief

under Chapter 7 of the United States Bankruptcy Code.


                                                 2
            Case 8:19-bk-06681-CPM                Doc 17      Filed 09/19/19        Page 3 of 14



        Thereafter, the Trustee was appointed as the Chapter 7 trustee in this case.

        The Trustee held and concluded the 341 meeting on August 20, 2019.

        The Debtor is the sole owner of real property located at 13408 Sunvale Place, Tampa, FL

33626 (the “Property”). The Debtor has not claimed the Property as exempt and, upon information

and belief, the Property is vacant.

        The Debtor has no equity in the Property. The Debtor’s schedules reflect that the Property

is currently worth $197,356.00, but is subject to a first mortgage lien (the “Senior Mortgage”) in

favor of Nation Star, LLC d/b/a/ Mr. Cooper (the “Secured Creditor”) in an amount exceeding

$238,962.00.

        The Trustee, after reviewing certain materials, including (without limitation) the

BK Score™1, sales analysis report and opinion of value for the Property provided by BKRES and

Listing Agent, has determined it to be in the best interest of the Debtor’s estate and all creditors to

negotiate to obtain Secured Creditor’s agreement and consent (“Consent”) to:

                 a. sell the Property to whichever third party Trustee determines to have made the

                     best qualified offer during a public sale approved by the Court;

                 b. buy the Property from the Debtor’s estate if (and only if) no such offer is made;

                 c. release the Senior Mortgage and otherwise waive all of its claims against the

                     estate with respect to the Property (including any deficiency claims resulting

                     from the proposed sale); and

                 d. agree to a 11 U.S.C. § 506 surcharge to pay all of the expenses associated with

                     the proposed sale, including the payment of a 6% real estate brokerage

                     commission to BKRES and Listing Agent and reimbursement of their out-of-


1
 The BK Score™ is a 100-point rating that is generated by a proprietary algorithm from 10 unique property
attributes in order to consistently measure sales confidence and predict market value.


                                                        3
               Case 8:19-bk-06681-CPM              Doc 17       Filed 09/19/19   Page 4 of 14



                        pocket expenses, and provide a carveout for the benefit of allowed unsecured

                        creditors of the Debtor’s estate.

           Trustee expects BKRES and Listing Agent to obtain Secured Creditor’s Consent and bring

a separate motion seeking an order approving the sale of the Property (the “Motion to Approve

Sale”) within several months of the entry of the order sought by this Application.

           By this Application, the Trustee requests authority pursuant to Sections 327, 328(a) and

330 of the Bankruptcy Code to (a) retain BKRES and Listing Agent to procure Secured Creditor’s

Consent, and (b) approve Secured Creditor’s payment of the fees described below directly to

BKRES and Listing Agent at closing of the sale of the Property, if and when the Consent and

Motion to Approve Sale are granted.

                                                  APPLICATION

           Section 328(a) of the Bankruptcy Code provides, in relevant part, that a debtors “with the

court’s approval, may employ or authorize the employment of a professional person under section

327...on any reasonable terms and conditions of employment, including on a retainer, on an hourly

basis, on a fixed percentage or fee basis, or on a contingent fee basis.” 11 U.S.C. § 328(a). Section

330 of the Bankruptcy Code permits the Court to “award to a trustee… or a professional person

employed under section 327…(A) reasonable compensation for actual, necessary services

rendered [by such party]… and (B) reimbursement for actual, necessary expenses.” 11 U.S.C.

§ 330(a)(1).

           As further described in the materials attached to their affidavits, BKRES2 and Listing

Agent have extensive experience obtaining the consent and agreement of mortgage lenders and




2
    BKRES is the broker affiliate of BK Global (http://www.bkginc.com/).


                                                         4
            Case 8:19-bk-06681-CPM           Doc 17     Filed 09/19/19     Page 5 of 14



servicers to the sale of their collateral and resolution of any resulting unsecured claims in order to

produce a recovery for estates from over-encumbered assets in which the estate has no equity.

        The Trustee believes that the highest and best value for the Property will be generated

through a sale in which the Property is widely marketed to the public and offered at the highest

price that the market will bear. The Trustee further believes that such a sale is in the best interest

of the Debtors’ estate, but can only be achieved if Secured Creditor’s Consent is first obtained.

That is why the Trustee believes that retaining BKRES and Listing Agent to obtain Secured

Creditor’s Consent is in the best interests of the Debtors’ estate.

        In no event will the estate have any obligation to pay BKRES or Listing Agent. The terms

of the BKRES Agreement and Listing Agreement provide that BKRES and Listing Agent are only

entitled to payment if and when (a) Secured Creditor grants its Consent, (b) the Motion to Approve

Sale is granted and (c) the Property is sold, in which event BKRES and Listing Agent will receive

and share a 6% real estate brokerage commission at closing in accordance with the order approving

the sale.

        BKRES and Listing Agent will not be entitled to any fees if Secured Creditor does not

grant its Consent or the Court does not grant the Motion to Approve Sale.

        The Trustee submits that the terms of employment and compensation as set out in the

BKRES Agreement and Listing Agreement are reasonable in light of the extensive experience of

BKRES and Listing Agent and the nature of the services they provide.

        BKRES attested that it is a disinterested person within the meaning of Section 101(14) of

the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and 2016(a). Attached

hereto is an Affidavit of Disinterestedness of BKRES.            BKRES also attests, pursuant to




                                                  5
           Case 8:19-bk-06681-CPM            Doc 17     Filed 09/19/19      Page 6 of 14



Bankruptcy Rule 2016, that it shall not split or share its fee with any individual or entity other than

Listing Agent.

       Listing Agent attested that it is a disinterested person within the meaning of

Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and

2016(a). Attached hereto is an Affidavit of Disinterestedness of Listing Agent. Listing Agent also

attests, pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee with any individual

or entity other than BKRES.

                                            CONCLUSION

       For the foregoing and all other necessary and proper purposes, the Trustee seeks the Court’s

authority to retain BKRES and Listing Agent in this case, and requests that the Court approve the

compensation arrangements set forth in the BKRES Agreement and Listing Agreement pursuant

to Sections 327, 328(a) and 330 of the Bankruptcy Code.

DATE: SEPTEMBER 19, 2019                                RESPECTFULLY SUBMITTED,


                                                        BY: /s/ Kelly C. Burke, Esq.
                                                           Richard M. Dauval, Esq.
                                                           Kelly C. Burke, Esq.
                                                           Attorney for the Chapter 7 Trustee
                                                           3900 1st Street North
                                                           Saint Petersburg, FL 33703




                                                  6
                      Case 8:19-bk-06681-CPM          Doc 17     Filed 09/19/19     Page 7 of 14




UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

In re:                                                               Chapter 7

                                                                      Case No. 8:19-bk-06681-CPM

Debtor
Glady Llano



                DECLARATION OF PATRICK BUTLER IN SUPPORT OF APPLICATION
            TO RETAIN BK GLOBAL REAL ESTATE SERVICES AND FUTURE HOME REALTY
           TO PROCURE CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. § 327,328 AND 330

                        The undersigned, Patrick Butler ("Declarant") hereby states:

                1.      I am employed by BK Global Real Estate Services ("Applicant" or "BKRES"),

         which is an entity duly licensed as a real estate brokerage by the State of Florida located at 1095

         Broken Sound Pkwy NW Suite 100, Boca Raton, FL 33487. I am Applicant's broker-in-charge

         and am authorized by Applicant to submit this Declaration on Applicant's behalf in support of the

         annexed Application to Retain BKRES and in accordance with Bankruptcy Rule 2014.

                2.      Based upon the information discussed below, I believe that Applicant 1s a

         disinterested person and does not hold or represent any interest adverse to the interest of the

         Debtor's estate as that term is defined in Section 101(14) of the Bankruptcy Code.

                3.      To the best of my knowledge: (a) neither BKRES nor any of its employees has any

         connection with the Debtors, its creditors in this case, the Chapter 7 Trustee, the Office of the

         United States Trustee, or any employees thereof or any party in interest herein; (b) BKRES and

         each of its employees are "disinterested persons," as that term is defined in Section 101(14) of the
             Case 8:19-bk-06681-CPM          Doc 17    Filed 09/19/19     Page 8 of 14



Bankruptcy Code; and (c) neither BKRES nor any of its employees hold or represent an interest

adverse to the Debtor's estate.

       4.      A description of the qualifications of, and services provided by, BKRES is attached

       as Schedule 1.

       5.      That I have read the application of the Trustee regarding the retention and

compensation of BKRES and agreed to be bound by the terms and conditions represented therein.

       6.      That I further understand that the Court, in its discretion, may alter the terms and

conditions of employment and compensation as it deems appropriate.



Verified under pena lty of perjury tha t the foregoing is true and

correct this 29 day of July, 2019.




                                                                     Patri�
                                                                     Corporate Broker



The foregoing instrument was acknowledged before me this 29 day of July, 2019, by Stephanie

Givens who provided identification or is personally known to me and who aid take an oath.


                                                            �J)�
                                                            Notary Public-StateofFlorida



        My commission expires
Case 8:19-bk-06681-CPM   Doc 17   Filed 09/19/19   Page 9 of 14
Case 8:19-bk-06681-CPM   Doc 17   Filed 09/19/19   Page 10 of 14
Case 8:19-bk-06681-CPM   Doc 17   Filed 09/19/19   Page 11 of 14
Case 8:19-bk-06681-CPM   Doc 17   Filed 09/19/19   Page 12 of 14
Case 8:19-bk-06681-CPM   Doc 17   Filed 09/19/19   Page 13 of 14
Case 8:19-bk-06681-CPM   Doc 17   Filed 09/19/19   Page 14 of 14
